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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

BUENAVENTURA ESPIN,



                                        Petitioner,

                                                                       DECISION AND ORDER

                                                                       02-CR-6001L
                                                                       05-CV-6248L

                        v.

UNITED STATES OF AMERICA,


                              Respondent.
________________________________________________


         Petitioner, Buenaventura Espin (“Espin”), was sentenced on January 24, 2003, to a 120

months imprisonment pursuant to a written plea agreement. Espin filed a petition, pro se, on May

13, 2005, requesting that the Court reconsider his sentence in light of United States v. Booker, 125

S.Ct. 738 (2005). The Government moved to dismiss the petition.

         Essentially for the reasons set forth in the Government’s motion, the petition, which I treat

as a petition pursuant to 28 U.S.C. § 2255, must be dismissed. First of all, petitioner relies

principally on the Booker Supreme Court case. However, the Second Circuit has recently ruled that

Booker does not apply retroactively to those convictions that have become final. See Guzman v.

United States, 404 F.3d 139, 144 (2d Cir. 2005); Green v. United States, 397 F.3d 101, 103 (2d Cir.

2005).
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       Second, in the plea agreement, Espin waived his right to appeal or collaterally attack the

sentence. This petition constitutes a collateral attack and is barred by the plea agreement. Such a

bar to appeal or collateral attack has been recognized and enforced by the courts. See Frederick v.

Lewisburg Corr. Facility, 308 F.3d 192, 195 (2d Cir. 2002), cert. denied, 537 U.S. 1146 (2003).



                                         CONCLUSION

       Petitioner’s request for a consideration in light of United States v. Booker, 125 S.Ct. 738

(2005) (Dkt. #104), is denied and the petition is dismissed.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       July 5, 2005.




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